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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE
    10x GENOMICS, INC.,                          )
                                                 )
          Plaintiff,                             ) C.A. No. 19-862-CFC-SRF
                                                 )
          v.                                     )
                                                 ) FILED UNDER SEAL
    CELSEE, INC.,                                )
          Defendant.                             )
                                                 )
                                                 )
                                                 )
                                                 )

        CELSEE’S UNOPPOSED MOTION TO REDACT PORTION OF
            THE NOVEMBER 5, 2020 HEARING TRANSCRIPT

        Defendant Celsee, Inc. (“Celsee”) hereby respectfully submits this

  unopposed motion to redact a portion of a single sentence of the November 5, 2020

  hearing transcript because it refers to the escrow amount set forth in a non-public

  acquisition agreement. The grounds for this motion are set forth below. A version

  of the transcript with the proposed redaction highlighted is attached hereto as

  Exhibit A, and a redacted version of the transcript is attached as Exhibit B.

        Throughout the November 5, 2020 hearing on 10x’s Objection to the

  Magistrate Judge’s September 23, 2020 Order in this case, the Court and the

  parties referred to the agreement under which Bio-Rad Laboratories, Inc. acquired

  Defendant Celsee, Inc. and, in particular, to an escrow provision in that agreement.

  For the most part, the discussion at the hearing did not delve into the details of the

  escrow or other provisions of the agreement. However, at one point the Court read


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  an excerpt of a deposition transcript in which the questioning attorney referred to a

  specific escrow amount. See Tr. at 11:11.1 Celsee requests that this specific

  amount be redacted from the public version of the transcript. See Exs. A, B.

        The public has a “common law right of access to judicial proceedings and

  records,” but this right “is not absolute.” Littlejohn v. BIC Corp., 851 F.2d 673,

  678 (3d Cir. 1988). Though there is a presumption of access, that presumption

  “must be balanced against the factors militating against access.” Id. A party

  seeking redaction of judicial records may overcome the presumption of public

  access by showing “that the material is the kind of information that courts will

  protect and that disclosure will work a clearly defined and serious injury to the

  party seeking closure.” See In re Avandia Mktg., Sales Practices & Prods. Liab.

  Litig., 924 F.3d 662, 672 (3d Cir. 2019) (quoting Miller v. Ind. Hosp., 16 F.3d 549,

  551 (3d Cir. 1994)). Thus, courts may “deny access to judicial records … where

  they are sources of business information that might harm a litigant’s competitive

  standing.” Littlejohn, 851 at 678. Generally, courts protect materials if their

  disclosure would “harm … a litigant’s standing in the marketplace.” Mars, Inc. v.

  JCM Am. Corp., No. 05-3165 (RBK), 2007 U.S. Dist. LEXIS 9819, at *5 (D.N.J.

  Feb. 13, 2007).


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   During fact discovery and prior to the November 5 hearing, Celsee designated this
  portion of the deposition transcript , as well as the acquisition agreement itself,
  Highly Confidential – Outside Eyes Only under the Protective Order.

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        Here, Celsee’s proposed redaction is limited to a specific dollar amount

  mentioned once during the November 5 hearing. Neither the acquisition

  agreement, nor the escrow provision of the agreement have been made public. See

  Ex. C (LaPointe Declaration), ¶ 2.



                                            See Ex. D, § 1.11(i).

        Celsee has a legitimate private interest in maintaining the confidentiality of

  the terms of its agreements with Bio-Rad. See Mars, 2007 U.S. Dist. LEXIS 9819,

  at *2 (parties have a “legitimate private interest in keeping confidential the terms

  of a confidential business agreement not otherwise available to the public”).




                                                                                  See

  Ex. C ¶ 3.




                                           . Id.

        There is no strong public interest in the amount of the escrow, and the

  minimal, narrowly tailored redaction proposed by Celsee would not “obscure any

  discussion of the actual nature of the parties’ dispute” from the public. Mosaid



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  Techs. Inc. v. LSI Corp., 878 F. Supp. 2d 503, 510-12 (D. Del. 2012) (allowing

  redactions of specific, confidential financial information as “terms that relate to

  pricing, valuation, monetary payments, and financial information should be

  protected”). Indeed, during the entire hearing, which lasted over 90 minutes, the

  amount of the escrow was mentioned only once. The nature of the dispute is

  readily apparent from the rest of the transcript. Accordingly, the limited

  information Celsee seeks to redact is precisely the sort of information that should

  be redacted. See id. (“[T]his is the type of information which, while largely

  incidental to the substantive issues in this case, could cause real and serious harm

  to the parties’ future negotiations if disclosed to competitors”).

        Accordingly, Celsee respectfully requests approval of its proposed redaction.


  Dated: November 20, 2020                        Respectfully submitted,
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                          CERTIFICATION OF COMPLIANCE

        The foregoing document complies with the type-volume limitation of this

  Court’s March 2, 2020 form Scheduling Order For All Cases where Infringement is

  Alleged. The text of this brief, including footnotes, was prepared in Times New

  Roman, 14 point. According to the word processing system used to prepare it, the

  brief contains 790 words, excluding the case caption, signature block, table of

  contents and table of authorities.



                                             /s/ Brian E. Farnan                .
                                             Brian E. Farnan (Bar No. 4089)
  Dated: November 20, 2020
